         Case 8-17-74476-reg         Doc 66     Filed 03/12/19      Entered 03/12/19 09:34:53
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                                                                           March 12, 2019

Docketed to ECF on March 12, 2019

The Honorable Robert E. Grossman
United States Bankruptcy Court
Eastern District of New York (Central Islip)
290 Federal Plaza
Central Islip, NY 11722

                                          Case No: 8-17-74476-REG
                                          Debtor: Flor Liliana Dorado
                                          DLG: 37698

Dear Honorable Grossman:

    Please allow this letter to serve as the status report in the pending Loss Mitigation pursuant to the
Eastern District of New York Bankruptcy Loss Mitigation Program. Our office represents SN Servicing
Corporation in the above reference case.

    The borrower was offered the below terms for a Trial Modification on January 4, 2019.

    Down Payment                  $107,232
    Mod Term                      480 months
    Mod Accruing UPB              $499,000
    Mod Deferred Bal              $202,708
    Mod Interest Rate             4.25%
    Mod P&I                       $2,164
    Monthly Trial Payment         $3,987.75

          Borrower was set to start the nine month Trial Modification on February 1, 2019, with the down
payment to come from the Trustee funds. The investor wants all of the funds that the trustee is holding
for this loan for the down payment.

          At this time, Plaintiff respectfully requests an adjournment to allow borrower time to accept the
offer.

          Please feel free to contact our office at 516-876-0800 with any questions or concerns.

                                                          Very truly yours,

                                                          Druckman Law Group PLLC

                                                          By: /s/ Stuart L. Druckman
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